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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        August 19, 2020
                       UNITED STATES DISTRICT COURT
                                                                       David J. Bradley, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                             LAREDO DIVISION

TEXAS ALLIANCE FOR RETIRED               §
AMERICANS, et al,                        §
                                         §
         Plaintiffs,                     §
VS.                                      § CIVIL ACTION NO. 5:20-CV-128
                                         §
RUTH HUGHS,                              §
                                         §
         Defendant.                      §

                                     ORDER

       Plaintiffs have filed a Motion for Preliminary Injunction (Dkt. No. 5).

Defendant is ORDERED to respond to the motion by September 2, 2020. Plaintiffs

may file a reply by September 7, 2020.

       It is so ORDERED.

       SIGNED August 19, 2020.


                                         ___________________________________
                                         Marina Garcia Marmolejo
                                         United States District Judge
